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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF MISSISSIPPI, ABERDEEN DIVISION

JUNIOR W. WRIGHT PLAINTIFF

VS. CIVIL ACTION NO: 1:19-CV-00110-SA-DAS

LIBERTY LIFE ASSURANCE COMPANY

OF BOSTON AND/OR LINCOLN NATIONAL

LIFE INSURANCE COMPANY, FICTITIOUS

DEFENDANT A AND FICTITIOUS

DEFENDANT B DEFENDANT
AMENDED COMPLAINT

COMES NOW your Plaintiff, Junior W. Wright, by and through counsel and files this his
Complaint against the Defendant, Liberty Life Assurance Company of Boston and/or Lincoln
National Life Insurance Company, Fictitious Defendant A and Fictitious Defendant B and in support
thereof, would show unto the Court the following, to-wit:

1. JURISDICTION

1. The Plaintiff is a citizen and resident of the United States of America and of the
County of Prentiss, State of Mississippi.

2. The Defendant is a foreign corporation licensed to do business in the State of
Mississippi that may be served with process through it’s Registered Agent, Corporation Service
Company.

3. That Fictitious Defendants A and Fictitious Defendants B will be named when they
ascertained.

2. FACTS

4. That Plaintiff is an employee of Wal-Mart in Booneville, Prentiss County,
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Mississippi. That Plaintiff was covered under Defendant’s long term disability insurance through his
said employer.

5. That on or about the 1* day of January, 2004 Plaintiff was injured as a result of his
employment with Wal-Mart and was ordered to remain off work until cleared to return.

6. That Plaintiff received benefits from Defendant from December 17, 2017 to April
25, 2018, when benefits were stopped after a review by Defendant.

7. That on or about July 6, 2018, Plaintiff filed an appeal on Defendant’s denial of
benefits which is attached hereto as Exhibit A; and on November 8, 2018, Plaintiff received a letter from
Defendant stating that his appeal was denied. The said denial is attached hereto as Exhibit B.
That Defendant filed his application for Social Security Disability and was denied; a copy of the decision
is attached hereto as Exhibit C and a copy of the transcript of the hearing is attached hereto as Exhibit D.

8. That Defendant’s decision of denying the Plaintiff's claim is not in accordance with
the purpose and intent of Plaintiff's insurance coverage with Defendant nor is it in accordance with the Law,
nor is it in accordance with the evidence, but contrary thereto and to the facts against the evidence, in that
Plaintiff is disabled from performing substantial gainful activity.

9. That Plaintiff files this complaint under the provisions of 29 U.S.C. Sec. §1132
which states that a civil action may be brought to recover benefits due Plaintiff under the terms of his plan,
to enforce his rights under the terms of the plan, or to clarify his rights to future benefits under the terms of
the plan.

WHEREFORE, Plaintiff prays for the following relief:

1. That Defendant, Liberty Life Assurance Company of Boston and/or Lincoln National Life

Insurance Company’s denial of Plaintiff's appeal be reversed and set aside and that the
claims of the Plaintiff for a period of disability and disability insurance benefits be

approved.
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2. That Defendant be ordered to pay to Plaintiff all future benefits due him and all unpaid
benefits, including any interest on the unpaid benefit, an amount equal to the greater of
interest on the unpaid benefits or liquidated damages provided for under the plan in an
amount not in excess of 20 percent (or such higher percentage as may be permitted under
Federal or State law) of the amount determined by the court under Subparagraph (A) of 29
U.S.C. 1132.

2. That Defendant be ordered to pay Plaintiffs reasonable attorney fees and costs of this
action and such other legal or equitable relief as the court deems appropriate.
Respectfully submitted, this the Zaay of G i WW 2019.

JUNIOR W. WRIGHT, PLAINTIFF

ov. Diehnal

Greg Béatd, MS Bar No. 9481
Attorney for Plaintiff

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ATTORNEY AT LAW

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STATE OF MISSISSIPPI
COUNTY OF PRENTISS

he Dek, appeared before me, the undersigned authority in and for the said county and state,

on this the day of Que. 2019, within my jurisdiction, the within named Junior W.
Wright, who acknowledged that he read the above and foregoing instrument and the statements

contained therein are true and correct to the best of his kr

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Sworn to and subscribed before me this the 2 % day of

NOTARY PUBLIC

   
 

, 2019.

My Commission Expires:

 

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aa 1D # 69833 =*
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"Commission mates ¢

Ip. May 12, 2023
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